                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           SOUTHERN DIVISION
                            NO. 7:19-CR-00166-D


UNITED STATES OF AMERICA

              V.


JAMMIE SMITH


                     PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, pursuant to the entry of a Memorandum of Plea Agreement

entered into by the defendant on June 4, 2020, the defendant's guilty plea to

offenses in violation of 18 U.S.C. §§ 922(g) and 924, and all other evidence of record,

the Court finds that the following property is hereby forfeitable pursuant to 18

U.S.C. § 924(d)(l), made applicable to this proceeding by virtue of 28 U.S.C.

§ 2461(c), to wit:

          •   Smith and Wesson, Body Guard, .380 caliber handgun, bearing serial

              number KFD0668;

          •   Romarm, Wasr 10/63, 7.62 caliber rifle, bearing serial number

              BX459986RO;

          •   Smith and Wesson, 10/6, .38 caliber revolver, bearing serial number

              52560;and

          •   All ammunition seized during the investigation.

      AND WHEREAS, by virtue of said finding, the United States is now entitled

to possession of said property pursuant to 21 U.S.C. § 853 and Fed. R. Crim. P.


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32.2(b)(3);

       It is hereby ORDERED, ADJUDGED, and DECREED:

       1.      That based upon the Guilty Plea by the defendant, and all other

evidence of record, the United States is hereby authorized to seize the above-stated

property, and it is hereby forfeited to the United States for disposition in accordance

with the law, including destruction, subject to the provisions of 21 U.S.C. § 853(n),

as allowed by Fed. R. Crim. P. 32.2(b)(3).

       2.     That upon sentencing and issuance of the Judgment and Commitment

Order, the Clerk of Court is directed to incorporate a reference to this Preliminary

Order of Forfeiture in the applicable section of the Judgment, as required by Fed. R.

Crim. P. 32.2(b)(4)(B). In accordance with Fed. R. Crim. P. 32.2(b)(4)(A), this Order

is now final as to the defendant upon entry.

       3.      That pursuant to 21 U.S.C. § 853(n), the United States shall publish

notice of this Order and of its intent to dispose of the property in such manner as

the Attorney General or the Secretary of Treasury directs, by publishing and

sending notice in the same manner as in civil forfeiture cases, as provided in

Supplemental Rule G(4). Any person other than the defendant, having or claiming

any legal interest in the subject property must file a petition with the Court within

30 days of the publication of notice or of receipt of actual notice, whichever is

earlier.

       The petition must be signed by the petitioner under penalty of perjury and

shall set forth the nature and extent of the petitioner's right, title, or interest in the

subject property, and must include any additional facts supporting the petitioner's

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claim and the relief sought.

      4.      That upon adjudication of all third party interests this Court will enter

a Final Order of Forfeiture pursuant to 21 U.S.C. § 853 and 28 U.S.C. § 2461(c), as

required by Fed. R. Crim. P. 32.2(c)(2).

      SO ORDERED. This J.9_ day of         Q c:f-obJu...   , 2020.



                                 J   ES C. DEVERIII
                                 United States District Judge




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